        Case 2:20-cv-01619-MHH Document 20 Filed 12/22/21 Page 1 of 8                       FILED
                                                                                   2021 Dec-22 PM 11:57
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

HILDA BROWN,                             §
                                         §
       Plaintiff,                        §
                                         §
v.                                       §          CIVIL ACTION NO.:
                                         §
KEYSTONE FOODS, LLC, EQUITY              §           2:20-cv-01619-MHH
GROUP EUFAULA DIVISION, LLC,             §
AND TYSON FOODS, INC.                    §
                                         §
      Defendants.                        §
                                         §


PLAINTIFF’S BRIEF IN OPPOSITION TO DEFENDANT’S MOTION FOR
                    SUMMARY JUDGMENT

      COMES NOW, the Plaintiff, through undersigned counsel, and hereby

submits this Opposition to Defendants’ Motion for Summary Judgment (Doc No.

14). Defendants ask this Court to dismiss Plaintiff’s claims solely for an apparent

non-disclosure of her claims against Defendant in her bankruptcy filings.

Defendants claim that Plaintiff’s failure to amend demonstrates that she intended to

“make a mockery of the judicial system” by hiding potential assets, and, therefore,

she should be judicially estopped from pursing her claims in this action. As the

evidence demonstrates, however, Defendants are not entitled to judgment as a

matter of law on the facts presented. Defendants are simply attempting to use

judicial estoppel as an offensive weapon to limit their exposure to the remedies

sought by Plaintiff. Should this Court grant Defendants’ motion, Plaintiff’s
         Case 2:20-cv-01619-MHH Document 20 Filed 12/22/21 Page 2 of 8




creditors bear the expense. This Court should allow Plaintiff and her attorneys

adequate time to finalize and file the amendment to her bankruptcy filings.

        The Court’s equitable powers would be more appropriately used to allow

Plaintiff’s claims to proceed in the interest of her creditors. The only entities

harmed, should this Court grant Defendants’ motion, are Plaintiff and her creditors.


I.      RESPONSE TO MOVANT’S CLAIMED UNDISPUTED FACTS

        Plaintiff submits the following response to Defendants’ statement of claimed

undisputed facts in support of its filed motion for summary judgment.


     A. Response to Defendant’s Statement of Facts

     Paragraph 9. Disputed, in part. Plaintiff expressly seeks equitable relief, in

     addition to those monetary damages listed by the Defendants. (Doc. 1 at 13-14.)


     Paragraph 10. Disputed, in part. Plaintiff consulted her bankruptcy attorneys,

who are currently preparing to file amended schedules that reflect this action. (Doc

19-1 at ¶¶ 9-10.)

     B. Plaintiff’s Statement of Additional Facts

        1. Plaintiff’s failure to disclose her claims against Defendant was

           inadvertent. (See Doc. 19-1 at ¶¶ 7-8.)

        2. Plaintiff’s pending bankruptcy matter has not been discharged. (See Doc.

           19-1 at ¶ 11.)
        Case 2:20-cv-01619-MHH Document 20 Filed 12/22/21 Page 3 of 8




       3. Plaintiff has never sought to make a mockery of the judicial system and

          does not possess a motive to do so. (See Doc. 19-1 at ¶ 12.)


II.    STANDARD OF REVIEW

       The Eleventh Circuit has emphasized that“‘[i]n ruling on a Rule 56 motion,

the district court may not weigh the evidence or find facts. Instead, the court’s role

is limited to deciding whether there is sufficient evidence upon which a reasonable

juror could find for the non-moving party.’” Chapter 7 Trustee v. Gate Gourmet,

Inc., 683 F.3d 1249, 1260, fn. 7 (11th Cir. 2012) (quoting Morrison v. Amway Corp.,

323 F.3d 920, 924 (11th Cir. 2003)). The Court “‘must draw all reasonable

inferences in favor of [the non-movant]’” Holland v. Gee, 677 F.3d 1047, 1057 (11th

Cir. 2012) (quoting Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133 at

150), and “‘may not make credibility determinations or weigh the evidence,’” id.,

but “‘must disregard all evidence favorable to the [movant] that the jury [is] not

required to believe.’” Holland, 677 F.3d at 1057 (quoting Reeves, 530 U.S. at 151).

III.   ARGUMENT

       A.  GENUINE ISSUES OF MATERIAL FACT PRECLUDE
       SUMMARY JUDGMENT

       Defendants are unable to prove the requisite elements to establish that Plaintiff

should be judicially estopped from seeking the remedies plead in this case.

Therefore, Defendants’ motion for summary judgment should be denied.
        Case 2:20-cv-01619-MHH Document 20 Filed 12/22/21 Page 4 of 8




      A.    Defendants’ Motion Should be Denied as it is Unable to Prove
            Plaintiff Intended to Make a Mockery of the Judicial System

      To establish and enforce the principal of judicial estoppel, Defendant must

establish that (1) the allegedly inconsistent positions were made under oath, and in

a prior proceeding; and (2) the inconsistencies were calculated to make a mockery

of the judicial system. Robinson v. Tyson Foods, Inc., 595 F.3d 1269, 1273 (11th

Cir. 2010). As demonstrated below, Defendant is unable to establish that Plaintiff

sought to make a mockery of the judicial system, and its motion for summary

judgment should therefore be denied.

      In Slater v. United States Steel Corp., the 11th Circuit Court of Appeals

discussed the applicable framework in discerning whether a plaintiff intended to

make a mockery of the judicial system. Slater v. United States Steel Corp., 871 F.3d

1174 (11th Cir. 2017). The 11th Circuit found that

            when determining whether a plaintiff who failed to

            disclose a civil lawsuit in bankruptcy filings intended to

            make a mockery of the judicial system, a district court

            should consider all the facts and circumstances of the case.

            The court should look to factors such as the plaintiff's

            level of sophistication, his explanation for the omission,

            whether he subsequently corrected the disclosures, and

            any action taken by the bankruptcy court concerning the
        Case 2:20-cv-01619-MHH Document 20 Filed 12/22/21 Page 5 of 8




             nondisclosure. We acknowledge that in this scenario the

             plaintiff acted voluntarily, in the sense that he knew of his

             civil claim when completing the disclosure forms. But

             voluntariness alone does not necessarily establish a

             calculated attempt to undermine the judicial process.

Id. at 1176 -1177.

      As noted in Slater, voluntariness alone is not sufficient to make a finding that

a plaintiff intended to make a mockery of the judicial system. Slater, 1174 F.3d at

1185 (overruling prior decisions that “permitted the inference that a plaintiff

intended to make a mockery of the judicial system simply because he failed to

disclose a civil claim.”). Such a finding was calculated to “reduce the risk that the

application of judicial estoppel will give the civil defendant a windfall at the expense

of innocent creditors.” Id. At 1186.

      Defendants rely solely on Plaintiff’s omissions in their assertion that Plaintiff

intended to make a mockery of the judicial system. As noted above, Plaintiff’s

omissions alone are not sufficient to establish such a finding of intent, and all facts

and circumstances should be considered in discerning a plaintiff’s intent. Defendants

seek a windfall to the detriment of innocent third parties. Permitting strict application

of judicial estoppel, as the Defendants suggest, would allow it to “become a sword

of the defense bar rather than a shield of judicial integrity.” Thompson v. Quarles,
        Case 2:20-cv-01619-MHH Document 20 Filed 12/22/21 Page 6 of 8




392 B.R. 517, 529 (Bankr. S.D. Ga. 2008). Therefore, Defendants’ motion is due to

be denied.

      Plaintiff’s omissions were inadvertent, she has since acted to remedy said

omissions, and she offers reasons as to how the omissions may have occurred. (Doc.

19-1 at ¶¶ 7-8.) The Eleventh Circuit has stated that district courts may consider a

plaintiff’s explanation for the omissions, and her attempts to correct her disclosures.

Id. at 1176. Plaintiff was advised to refrain from discussing her claims against

Defendants with individuals, causing her awareness of said claims to wane with

time. (Doc. 19-1 at ¶¶ 7-8.) Further, Plaintiff has since consulted with her bankruptcy

attorneys to rectify her omissions. (Doc. 19-1 at ¶¶ 9-10.) These factors weigh in

Plaintiff’s favor, and show that Plaintiff did not possess the requisite intent to make

a finding that she sought to make a mockery of the judicial system.

      Further, in denying defendants’ motions for summary judgment in similar

cases, district courts have noted that “no events significant to the bankruptcy

occurred, and no deadlines passed or were imminent...” Smith v.Werner Enters., 65

F. Supp. 3d 1305, 1311 (S.D. Ala.). Defendants have made no showing as to any

significant events in Plaintiff’s bankruptcy action.

      “[T]he doctrine of judicial estoppel applies in situations involving intentional

contradictions, not simple error or inadvertence.” Smith v. Werner Enters., 65 F.

Supp. 3d 1305, 1309 (S.D. Ala.)(quoting Burnes v. Pemco Aeroplex, Inc., 291 F.3d

1282, 1286 (11th Cir. 2002). Therefore, Defendant’s motion should be denied.
           Case 2:20-cv-01619-MHH Document 20 Filed 12/22/21 Page 7 of 8




       B.      Judicial Estoppel is a Flexible Rule

       The Defendants have moved to dismiss all of Plaintiff’s claims on the basis

that they are judicially estopped from pursuing them because she failed to list the

claims on her bankruptcy filings. The Supreme Court has recognized that judicial

estoppel “is an equitable doctrine invoked by a court at its discretion” used “to

protect the integrity of the judicial process…” New Hampshire v. Maine, 532 U.S.

742, 749-50 (2001)(citation omitted). The burden of proof rests with the Defendants

because judicial estopped is an affirmative defense. The application of this equitable

doctrine does not require application of rigid rules, but an equitable exercise of this

Court’s discretion. New Hampshire, 532 U.S. at 750.

       Plaintiff requests this court exercise its discretion in denying Defendants’

motion. Such a decision would allow for Defendants to be held accountable for its

bad acts, and avoid awarding Defendants a windfall at the expense of innocent third

parties.

IV.    CONCLUSION

       Wherefore, for the foregoing reasons, Defendants’ Motion is due to be denied

and Plaintiff requests a reasonable amount of time to amend her bankruptcy filings

at issue and or to allow the bankruptcy trustee an opportunity to intervene on

debtors/Plaintiff’s behalf.
        Case 2:20-cv-01619-MHH Document 20 Filed 12/22/21 Page 8 of 8




                                         Respectfully submitted,

                                               /s/ Eric C. Sheffer

                                        Wiggins Childs Pantazis Fisher & Goldfarb
                                        301 19th Street North
                                        Birmingham, Alabama
                                        (205) 314 – 0582
                                        esheffer@wigginschilds.com




                             CERTIFICATE OF SERVICE

       I hereby certify that on December 22, 2021, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification
of such filing to the following:

Stephanie H. Mays
W. Brock Phillips
MAYNARD, COOPER & GALE, P.C.
1901 6th Avenue North
1700 Regions/Harbert Plaza
Birmingham, Alabama 35203
smays@maynardcooper.com
bphillips@maynardcooper.com


                                                                     /s/ Eric C. Sheffer
                                                                      OF COUNSEL
